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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )     Criminal No. 6:13-cr-49-GFVT-HAI-10
                                                  )
 V.                                               )
                                                  )
 JAMES THOMAS WOODS,                              )                     ORDER
                                                  )
         Defendant.                               )


                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 426] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, James Thomas Woods, is

charged with six violations of his supervised release conditions. Id. at 2-4. These six violations

fall into two general categories: (i) prohibition on the use or possession of a controlled substance;

and (ii) committing another federal, state or local crime. Id. Judgment was originally entered

against the Defendant on November 24, 2014, for conspiracy to manufacture methamphetamine.

Id. at 1. He was originally sentenced to thirty-seven months followed by a five-year term of

supervised release. Id. Mr. Woods began his first term of supervised release on June 28, 2016.

Id.

       Mr. Woods had his initial supervised release revoked for admitting to the use and

possession of methamphetamine and fentanyl. Id. These violations resulted in a sentence of six

month of imprisonment and five years of supervised release. Id. The Defendant then began his

second term of supervised release on May 3, 2017.
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       Approximately eleven months later Mr. Woods again had his supervised release revoke

for confessing to the use of methamphetamine. Id. at 2. This time he was given a sentence of

nine months imprisonment followed by twelve months of supervised release. Id. Mr. Woods

was released from custody on December 27, 2018.

       On March 4, 2019, Woods was charged with violating six conditions of his release. Id.

All six violations relate to his urine sample which tested positive for buprenorphine,

benzodiazepines (alprazolam, a.k.a. Xanax), and methamphetamine. Id. After receiving the

positive result, Woods admitted to using all three substances the previous day. Id. The

admission of the use of these drugs triggers a violation of the condition that Mr. Woods not

possess or unlawfully use controlled substance. Id. Therefore, he had a Grade C violation for

the use of Suboxone, Xanax, and methamphetamine. Id. Because use is the equivalent of

possession, Mr. Woods conduct also qualifies as a Class E Felony. This conduct constitutes a

Grade B violation.

       At the final revocation hearing, held on March 18, 2019, Woods competently entered a

knowing, voluntary, and intelligent stipulation to the first four violations that had been charged

by the USPO in the Supervised Release Violation Report and Addendum. [R. 388.] On March

19, 2019, Magistrate Judge Ingram issued a Recommended Disposition which recommended

revocation of Woods’ supervised release and a term of twelve months of imprisonment followed

by no term of supervised release. [R. 426.]

       Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors in coming to his

recommended sentence. Judge Ingram noted the nexus between Woods conviction for being

involved in a methamphetamine manufacturing conspiracy and his use of the same drug, here.

Id. at 6. Woods has a limited criminal history, but this is his third revocation and his continued
                                                 2
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use is a federal felony. Id. at 7. Deterrence is especially important, here, where Woods’ drug

addiction drove his underlying criminal conduct. Id.

       Woods’ violations are also a serious breach of the Court’s trust. Id. The Defendant has

violated the terms of his release on multiple occasions. Id. In recommending an above

Guidelines term of imprisonment, Judge Ingram highlighted Mr. Woods was informed that his

sentence would be increased if he violated again. Id. A longer sentence of imprisonment is also

necessary to counterbalance the lack of supervised release. Id. at 8.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. Id. at 9. See 28 U.S.C. § 636(b)(1). No objections have been filed, and Defendant

Woods submitted a waiver of allocution. [R. 427.] Generally, this Court must make a de novo

determination of those portions of the Recommended Disposition to which objections are made.

28 U.S.C. § 636(b)(1)(c). When no objections are made, as in this case, this Court is not

required to “review . . . a magistrate’s factual or legal conclusions, under a de novo or any other

standard.” See Thomas v. Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a

magistrate judge’s report and recommendation are also barred from appealing a district court’s

order adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Nevertheless, this Court has examined the record and agrees with Magistrate Judge

Ingram’s Recommended Disposition. Accordingly, and the Court being sufficiently advised, it is

hereby ORDERED as follows:

       1.      The Recommended Disposition [R. 372] as to Defendant James Thomas Woods is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Woods is found to have violated the terms of his Supervised Release as
                                              3
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set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition of

the Magistrate Judge;

       3.     Woods’ Supervised Release is REVOKED;

       4.     Mr. Woods is SENTENCED to the Custody of the Bureau of Prisons for a term

of twelve months of imprisonment;

       5.     It is RECOMMENDED that Woods be housed at the facility closest to

Barbourville, Kentucky.

       This the 15th day of April, 2019.




                                               4
